                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


ROGER TROMBLEY, derivatively on behalf of                 Case No.:
COMMUNITY HEALTH SYSTEMS, INC.,

                Plaintiff,                                VERIFIED SHAREHOLDER
                                                          DERIVATIVE ACTION:
        vs.
                                                          JURY TRIAL DEMANDED
WAYNE T. SMITH, LARRY CASH, THOMAS J.
AARON, KEVIN J. HAMMONS, JOHN A.
CLERICO, MICHAEL DINKINS, JAMES S. ELY
III, JOHN A. FRY, TIM L. HINGTGEN, WILLIAM
NORRIS JENNINGS, K. RANGA KRISHNAN,
JULIA B. NORTH, and H. JAMES WILLIAMS,

                Defendants,

        -and-

COMMUNITY HEALTH SYSTEMS, INC.,

        Nominal Defendant.


                        SHAREHOLDER DERIVATIVE COMPLAINT

   Plaintiff Roger Trombley (“Plaintiff”), by his undersigned attorneys, derivatively and on behalf

of Nominal Defendant Community Health Systems, Inc. (“CYH”, “Community Health”, or the

“Company”), files this Verified Shareholder Derivative Complaint against Individual Defendants

Wayne T. Smith, Larry Cash, Thomas J. Aaron, Kevin Hammons, John A. Clerico, Michael

Dinkins, James S. Ely III, John A. Fry, Tim L. Hingtgen, William Norris Jennings, K. Ranga

Krishnan, Julia B. North, and H. James Williams (collectively, the “Individual Defendants” and

together with Company, the “Defendants”) for breaches of their fiduciary duties as directors and/or

officers of CYH, unjust enrichment, waste of corporate assets, and violations of Section 14(a) of


                                                1

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 1 of 34 PageID #: 1
the Exchange Act.

   As for his complaint against the Individual Defendants, Plaintiff alleges the following based

upon personal knowledge as to himself and his own acts, and information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys,

which included, among other things, a review of the Defendants’ public documents, conference

calls and announcements made by Defendants, United States Securities and Exchange

Commission (“SEC”) filings, wire and press releases published by and regarding CYH, legal

filings, news reports, securities analysts’ reports and advisories about the Company, and

information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by Company’s directors and officers from February 20, 2017 through to present (the “Relevant

Period”).

       2.      CYH is an operator of general acute care hospitals. The organization’s affiliates

own, operate or lease 105 hospitals in 18 states with approximately 17,000 licensed beds. Affiliated

hospitals provide healthcare for residents. The Company’s hospitals offer a wide range of

diagnostic, medical and surgical services in inpatient and outpatient settings.

       3.      During the Relevant Period, the Individual Defendants breached myriad fiduciary

duties by causing and or allowing the Company to issue materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, the Individual Defendants caused the Company not to

disclose to investors: (1) that the Company had understated its contractual allowances; (2) that the

Company had understated its provision for bad debts; (3) that, as a result, the Company had

overstated its net operating revenue; (4) that, as a result, the Company had understated its net loss;




                                                  2

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 2 of 34 PageID #: 2
and (5) that, as a result of the foregoing, the positive statements about the Company’s business,

operations, and prospects were materially misleading and/or lacked a reasonable basis.

       4.      On February 27, 2018, the Individual Defendants were no longer able to prevent

the Company from disclosing the reality of situation. On that day, the Company announced its

full year 2017 financial results and reported a $591 million increase to contractual allowances and

bad debt provision. On this news, the Company’s share price fell $1.06 per share, more than 17%,

to close at $5.12 per share on February 28, 2018, on unusually heavy trading volume.

       5.      The Individual Defendants’ breaches of fiduciary duty and other misconduct

exposed the Company, the Company’s Chief Executive Officer (“CEO”), and both its former and

present Chief Financial Officers (“CFO”) to a federal securities fraud class action lawsuit pending

in the United States District Court for the Middle District of Tennessee (the “Securities Class

Action”), the need to undertake internal investigations, losses from the waste of corporate assets,

and losses due to the unjust enrichment of Individual Defendants who were improperly over-

compensated by the Company, costing the Company millions of dollars.
       6.      The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

       7.      In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, of the collective engagement in fraud and

misconduct by the Company’s directors, of the substantial likelihood of the directors’ liability in

this derivative action and of one of the directors’ liability in the Securities Class Action, of their

not being disinterested or independent directors, a majority of the Board cannot consider a demand

to commence litigation against themselves on behalf of the Company with the requisite level of

disinterestedness and independence.

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C. §


                                                  3

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 3 of 34 PageID #: 3
78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9, and raise a federal question

pertaining to the claims made in the Securities Class Action based on violations of the Exchange

Act.

        9.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

        10.    This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that would not otherwise have jurisdiction.

        11.    Venue is proper in this District because a substantial portion of the transactions and

wrongs complained of herein occurred in this District, one or more of the Defendants either resides

or maintains executive offices in this District, and the Defendants have received substantial

compensation in this District by engaging in numerous activities that had an effect in this District.

                                            PARTIES

Plaintiff

        12.    Plaintiff has continuously held CYH common stock during the Relevant Period.

Nominal Defendant CYH

        13.    Defendant Community Health Systems, Inc. is incorporated under the laws of

Delaware with its principal executive offices located in Franklin, Tennessee. Community Health’s

common stock trades on the New York Stock Exchange (“NYSE”) under the symbol “CYH.”

Defendant Smith

        14.    Defendant Wayne T. Smith (“Smith”) has served as the Company’s CEO and as a

Company director since 1997, and as its Chairman since 2001. He previously served as the

President of the Company from 1997 to 2014. According to the Company’s Schedule 14A filed

with the SEC on April 4, 2019 (the “2019 Proxy Statement”), as of March 18, 2019, Defendant

Smith beneficially owned 2,802,545 shares of the Company’s common stock, which represented

2.4% of the Company’s outstanding shares of common stock on that date. Given that the price per


                                                  4

       Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 4 of 34 PageID #: 4
share of the Company’s common stock at the close of trading on March 18, 2019 was $4.32, Smith

owned over $12.1 million worth of Community Health stock. For the fiscal year ended December

31, 2017, Defendant Smith received $4,945,992 in compensation from the Company. This

included $1,600,000 in salary, $1,378,500 in restricted stock awards, $812,000 in non-equity

incentive plan compensation, a change in pension value and deferred compensation of $1,055,772,

and $99,720 in all other compensation.

Defendant Cash

       15.    Defendant W. Larry Cash (“Cash”) served as Community Health’s CFO and

Executive Vice President from 1997 to 2017, and as a Company director from 2001 to May 2017.

According to the 2019 Proxy Statement, as of March 19, 2019, Defendant Cash beneficially owned

661,152 shares of the Company’s common stock. Given that the price per share of the Company’s

common stock at the close of trading on March 19, 2018 was $4.33, Cash owned approximately

$2.86 million worth of Community Health stock. For the fiscal year ended December 31, 2017,

Defendant Cash received $1,125,761 in compensation from the Company, despite retiring in May

of that year. This included $332,019 in salary, $294,080 in restricted stock awards, $412,866 in

pension value and deferred compensation, and $96,796 in other compensation.

Defendant Aaron

       16.    Defendant Thomas J. Aaron (“Aaron”) has served as the Company’s CFO and

Executive Vice President since May 2017. According to the 2019 Proxy Statement, as of March

18, 2019, Defendant Aaron beneficially owned 408,011 shares of the Company’s common stock.

Given that the price per share of the Company’s common stock at the close of trading on March

18, 2019 was $4.32, Aaron owned approximately $1.76 million worth of Community Health stock.

For the fiscal year ended December 31, 2017, Defendant Aaron received $1,749,244 in

compensation from the Company. This included $646,875 in salary, a bonus of $25,000, $413,150

in restricted stock awards, $646,875 in non-equity incentive plan compensation, and $17,344 in

other compensation.

                                               5

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 5 of 34 PageID #: 5
Defendant Hammons


         17.   Defendant Kevin J. Hammons (“Hammons”) has served as the Company’s Chief

Accounting Officer and Senior Vice President since 2012.

Defendant Clerico

         18.   Defendant John A. Clerico (“Clerico”) has served as a Company director since

2003. He also serves as Chairman of the Compensation Committee and as a member of the Audit

& Compliance Committee. According to the 2019 Proxy Statement, as of March 18, 2019,

Defendant Clerico beneficially owned 141,310 shares of the Company’s common stock. Given

that the price per share of the Company’s common stock at the close of trading on March 18, 2019

was $4.32, Clerico owned approximately $610,459 worth of Community Health stock. For the

fiscal year ended December 31, 2017, Defendant Clerico received $307,497 in compensation from

the Company. This included $137,500 in fees earned or cash paid and $169,997 in restricted stock

awards

Defendant Dinkins

         19.   Defendant Michael Dinkins (“Dinkins”) has served as a Company director since

December 2017. He also serves as a member of the Audit & Compliance Committee. According

to the 2019 Proxy Statement, as of March 18, 2019 Defendant Dinkins beneficially owned 18,028

shares of the Company’s common stock. Given that the price per share of the Company’s common

stock at the close of trading on March 18, 2019 was $4.32, Dinkins owned approximately $77,880

worth of Community Health stock. For the fiscal year ended December 31, 2017, Defendant

Dinkins received a prorated amount of $6,522 in compensation, all in cash fees, from the

Company. For the fiscal year ended December 31, 2018, Defendant Dinkins received $290,000 in

compensation, including $120,000 in cash fees and $170,000 in restricted stock awards.




                                               6

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 6 of 34 PageID #: 6
Defendant Ely

       20.     Defendant James S. Ely III (“Ely”) has served as a Company director since 2009.

He also serves as Chairman of the Audit & Compliance Committee. According to the 2019 Proxy

Statement, as of March 18, 2019, Defendant Ely beneficially owned 91,310 shares of the

Company’s common stock. Given that the price per share of the Company’s common stock at the

close of trading on March 18, 2019 was $4.32, Ely owned approximately $394,459 worth of

Community Health stock.

Defendant Fry

       21.     Defendant John A. Fry has served as a Company director since 2004. He also serves

as a member of the Compensation Committee and the Governance & Nominating Committee.

According to the 2019 Proxy Statement, as of March 18, 2019, Defendant Fry beneficially owned

73,013 shares of the Company’s common stock. Given that the price per share of the Company’s

common stock at the close of trading on March 18, 2019 was $4.32, Fry owned approximately

$315,416 worth of Community Health stock. For the fiscal year ended December 31, 2017,

Defendant Fry received $289,997 in compensation from the Company. This included $120,000 in

fees earned or cash paid and $169,997 in restricted stock awards.

Defendant Hingtgen

       22.     Defendant Tim L. Hingtgen (“Hingtgen”) has served as the Company’s President

and Chief Operating Officer (“COO”) since September 1, 2016, and he has served as a Company

director since 2017. According to the 2019 Proxy Statement, as of March 18, 2018, Defendant

Hingtgen beneficially owned 525,024 shares of the Company’s common stock. Given that the

price per share of the Company’s common stock at the close of trading on March 18, 2019 was

$4.32, Hingtgen owned approximately $2.27 million worth of Community Health stock. For the

fiscal year ended December 31, 2017, Defendant Hingtgen received $2,209,826 in compensation

from the Company. This included $800,000 in salary, $689,250 in restricted stock awards,



                                                7

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 7 of 34 PageID #: 7
$312,000 in non-equity incentive plan compensation, a change in pension value and deferred

compensation of $393,318, and $15,258 in all other compensation.

Defendant Jennings

       23.    Defendant William Norris Jennings (“Jennings”) has served as a Company director

since 2008. He also serves as a member of the Governance & Nominating Committee. According

to the 2019 Proxy Statement, as of March 18, 2019, Defendant Jennings beneficially owned 73,489

shares of the Company’s common stock. Given that the price per share of the Company’s common

stock at the close of trading on March 18, 2019 was $4.32, Jennings owned approximately

$317,472 worth of Community Health stock. For the fiscal year ended December 31, 2017,

Defendant Jennings received $289,997 in compensation from the Company. This included

$120,000 in fees earned or cash paid and $169,997 in restricted stock awards.

Defendant Krishnan

       24.    Defendant K. Ranga Krishnan (“Krishnan”) has served as a Company director since

2017. He also serves as a member of the Governance & Nominating Committee. According to the

2019 Proxy Statement, as of March 18, 2019, Defendant Krishnan beneficially owned 12,373

shares of the Company’s common stock. Given that the price per share of the Company’s common

stock at the close of trading on March 18, 2019 was $4.32, Krishnan owned approximately $53,451
worth of Community Health stock. For the fiscal year ended December 31, 2017, Defendant

Krishnan received a prorated amount of $6,522 in compensation, all in cash fees, from the

Company. For the fiscal year ended December 31, 2018, Defendant Krishnan received $290,000

in compensation from the Company. This included $120,000 in fees earned or cash paid and

$170,000 in restricted stock awards.

Defendant North


       25.    Defendant Julia B. North (“North”) has served as a Company director since 2004,

and she is currently the Lead Director. She also serves as a member of the Compensation

                                               8

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 8 of 34 PageID #: 8
Committee and as the Chairman of the Governance & Nominating Committee. According to the

2019 Proxy Statement, as of March 18, 2019, Defendant North beneficially owned 96,939 shares

of the Company’s common stock. Given that the price per share of the Company’s common stock

at the close of trading on March 18, 2019 was $4.32, North owned approximately $418,776 worth

of Community Health stock. For the fiscal year ended December 31, 2017, Defendant North

received $302,247 in compensation from the Company. This included $132,250 in fees earned or

cash paid, and $169,997 in restricted stock awards

Defendant Williams

       26.     Defendant H. James Williams (“Williams”) has served as a Company director since

2015. He also serves as a member of the Audit & Compliance Committee. According to the 2019

Proxy Statement, as of March 18, 2019, Defendant Williams beneficially owned 38,189 shares of

the Company’s common stock. Given that the price per share of the Company’s common stock at

the close of trading on March 18, 2019 was $4.32, Williams owned approximately $164,976 worth

of Community Health stock. For the fiscal year ended December 31, 2017, Defendant Williams

received $289,997 in compensation from the Company. This included $120,000 in fees earned or

cash paid and $169,997 in restricted stock awards.

               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       27.     By reason of their positions as officers and/or directors of CYH and because of their

ability to control the business and corporate affairs of CYH, the Individual Defendants owed CYH

and its shareholders fiduciary obligations of trust, loyalty, good faith, and due care, and were and

are required to use their utmost ability to control and manage CYH in a fair, just, honest, and

equitable manner. The Individual Defendants were and are required to act in furtherance of the best

interests of CYH and its shareholders so as to benefit all shareholders equally.

       28.     Each director and officer of the Company owes to CYH and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the Company and in

the use and preservation of its property and assets and the highest obligations of fair dealing.

                                                 9

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 9 of 34 PageID #: 9
         29.   The Individual Defendants, because of their positions of control and authority as

directors and/or officers of CYH, were able to and did, directly or indirectly, exercise control over

the wrongful acts complained of herein.

         30.   To discharge their duties, the officers, directors, and controllers of CYH were

required to exercise reasonable and prudent supervision over the management, policies, controls,

and operations of the Company.

         31.   Each Individual Defendant, by virtue of their position as a director and/or officer,

owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good faith,

and the exercise of due care and diligence in the management and administration of the affairs of

the Company, as well as in the use and preservation of its property and assets. The conduct of the

Individual Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and officers of CYH, the absence of good faith on their part, or a reckless

disregard for their duties to the Company and its shareholders that the Individual Defendants were

aware or should have been aware posed a risk of serious injury to the Company. The conduct of

the Individual Defendants who were also officers and/or directors of the Company has been ratified

by the remaining Individual Defendants who collectively comprised CYH’s Board at all relevant

times.
         32.   As senior executive officers and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the NYSE,

the Individual Defendants had a duty to prevent and not to effect the dissemination of inaccurate

and untruthful information with respect to the Company’s financial condition, performance,

growth, operations, financial statements, business, products, management, earnings, internal

controls, and present and future business prospects, including the dissemination of false

information regarding the Company’s business, prospects, and operations, and had a duty to cause

the Company to disclose in its regulatory filings with the SEC all those facts described in this

Complaint that it failed to disclose, so that the market price of the Company’s common stock

would be based upon truthful and accurate information.
                                                 10

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 10 of 34 PageID #: 10
       33.     To discharge their duties, the officers and directors of CYH were required to

exercise reasonable and prudent supervision over the management, policies, practices, and internal

controls of the Company. By virtue of such duties, the officers and directors of CYH were required

to, among other things:

               a)     ensure that the Company was operated in a diligent, honest, and prudent

       manner in accordance with the laws and regulations of the United States, and pursuant to

       CYH’s own Code of Ethics and Conduct;

               b)     remain informed as to how CYH conducted its operations, and, upon receipt

       of notice or information of imprudent or unsound conditions or practices, to make

       reasonable inquiry in connection therewith, and to take steps to correct such conditions or

       practices;

               c)     establish and maintain systematic and accurate records and reports of the

       business and internal affairs of CYH and procedures for the reporting of the business and

       internal affairs to the Board and to periodically investigate, or cause independent

       investigation to be made of, said reports and records;

               d)     maintain and implement an adequate and functioning system of internal

       legal, financial, and management controls, such that CYH’s operations would comply with

       all applicable laws and CYH’s financial statements and regulatory filings filed with the

       SEC and disseminated to the public and the Company’s shareholders would be accurate;

               e)     exercise reasonable control and supervision over the public statements

       made by the Company’s officers and employees and any other reports or information that

       the Company was required by law to disseminate;

               f)     refrain from unduly benefiting themselves and other Company insiders at

       the expense of the Company; and

               g)     examine and evaluate any reports of examinations, audits, or other financial

       information concerning the financial affairs of the Company and to make full and accurate


                                               11

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 11 of 34 PageID #: 11
       disclosure of all material facts concerning, inter alia, each of the subjects and duties set

       forth above.

       34.     Each of the Individual Defendants further owed to CYH and its shareholders the

duty of loyalty requiring that each favor CYH’s interest and that of its shareholders over their own

while conducting the affairs of the Company and refrain from using their position, influence or

knowledge of the affairs of the Company to gain personal advantage.

       35.     At all times relevant hereto, the Individual Defendants were the agents of each other

and of CYH and were always acting within the course and scope of such agency.
       36.     Because of their advisory, executive, managerial, directorial, and controlling

positions with CYH, each of the Individual Defendants had access to adverse, non- public

information about the Company.

       37.     The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by CYH.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       38.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and assisted each other in breaching their respective duties.

       39.     The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, waste of corporate

assets, and violations of Section 14(a) of the Exchange Act; (ii) conceal adverse information

concerning the Company’s operations, financial condition, legal compliance, future business

prospects and internal controls; and (iii) artificially inflate the Company’s stock price.


                                                 12

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 12 of 34 PageID #: 12
        40.     The Individual Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company purposefully or recklessly to conceal material

facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance of this

plan, conspiracy, and course of conduct, the Individual Defendants collectively and individually

took the actions set forth herein. Because the actions described herein occurred under the authority

of the Board, each of the Individual Defendants who is a director of CYH was a direct, necessary,

and substantial participant in the conspiracy, common enterprise, and common course of conduct

complained of herein.
        41.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his or her overall contribution to and furtherance of the wrongdoing.

        42.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of CYH and was at all times acting within the course

and scope of such agency.

                                  CYH’S CODE OF CONDUCT

        43.     The Company’s Code of Conduct was adopted by the Board of Directors and states,

in part, as follows:

        The Code of Conduct (the “Code”) is designed to provide all persons and businesses
        associated with Community Health Systems, Inc. and its subsidiaries (collectively
        “CYH” or the “organization”) including directors, officers, colleagues, physicians,
        contractors, and agents with guidance to perform their daily activities in accordance
        with the organization’s ethical standards and all federal, state, and local laws, rules,
        and regulations. The Code is an integral component of the organization’s
        Compliance Program and reflects our commitment to achieve our goals within the
        framework of the law through a high standard of business ethics and compliance.
        This Code of Conduct has been adopted by the Board of Directors of Community
        Health Systems, Inc. and by each subsidiary.

                                                  13

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 13 of 34 PageID #: 13
       44.       It further states it is an initial “Statement of Beliefs,” that the Company is

“dedicated to compliance with all federal, state, and local laws, rules.” With respect to policies

concerning compliance and regulations, the Code states as follows:

       Facilities and colleagues must comply with all applicable federal, state, and local
       laws, rules, and regulations. Any colleague who witnesses or suspects any
       violations of any law or regulation must immediately report said violation or
       suspected violation to a supervisor, the Facility Compliance officer, the Corporate
       Compliance and Privacy Officer, or the Confidential Disclosure Program.

       45.       It further states the Company is “committed to full, fair, accurate, timely, and clear

disclosure in reports and documents that we file with or submit to government agencies, as well as

in other public communications or in material that we develop for internal use.” Further, it states

the following:

       As a public organization, our integrity and reputation depend upon the accuracy
       and completeness of our financial statements. All accounts and financial records
       must be maintained strictly in accordance with the CYHPSC Financial Policies and
       Procedures, as amended from time to time. Colleagues must always keep in mind
       that each bookkeeping and financial entry will ultimately be incorporated into our
       consolidated financial statements. Our consolidated financial statements are
       certified by our officers as being true and correct and not misleading and are
       presented to the public and the federal government in accordance with generally
       accepted accounting principles and all Securities and Exchange Commission rules
       and regulations. All personnel who make bookkeeping and financial entries,
       prepare financial reports and statements, and disperse assets (especially cash) have
       special ethical obligations as you perform your duties.

       46.       The Individual Defendants violated the Code of Conduct by engaging in or

permitting the scheme to issue materially false and misleading statements to the public and to

facilitate and disguise the Individual Defendants’ violations of law, including breaches of fiduciary

duty, waste of corporate assets, unjust enrichment, and violations of Sections 14(a).

    COMMUNITY HEALTH’S AUDIT & COMPLIANCE COMMITTEE CHARTER

       47.       The Company’s Audit & Compliance Committee Charter provides that the

Committee shall “assist the Board of Directors in its oversight of (1) the integrity of the Company’s


                                                  14

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 14 of 34 PageID #: 14
financial statements, [and] (2) the Company’s compliance with legal and regulatory requirements,”

including use of the proper accounting methods.

       48.     The Audit & Compliance Committee Charter also provides that the members of the

Committee must “[b]ecome familiar with the accounting and reporting principles and practices

applied by the Company in preparing its financial statements.”

       49.     Specifically addressing accounting standards, the Charter provides that the

Committee must examine all changes and potential changes in accounting practices and ensure

that financial information is reported properly:

       Obtain and review a report from the Independent Accountant regarding (1) all
       critical accounting policies and practices to be used, (2) all alternative treatments
       of financial information within GAAP that have been discussed with management
       and the ramifications of the use of such alternative disclosures and treatments, (3)
       the treatment preferred by the Independent Accountant, and (4) other written
       communications such as any management letters or schedule of unadjusted
       differences.

       50.     The Audit & Compliance Committee is also tasked with overseeing the Company’s

internal controls:

       Obtain and review reports from Management assessing the effectiveness of the
       Company’s internal control structure and procedures for financial reporting,
       including (1) all significant deficiencies or material weaknesses in the design or
       operation of internal controls, (2) any fraud, whether or not material, that involves
       Management or other employees having a significant role in the internal controls,
       and (3) all significant changes to internal controls, including corrective actions,
       since the last report to the Committee.

                       INDIVIDUAL DEFENDANTS’ MISCONDUCT

       51.     On February 20, 2017, certain Individual Defendants caused the Company to

announce its fourth quarter and full year 2016 financial results. For 2016, it reported $18.438

billion net operating revenue, $1.721 billion net loss, and $564 million adjusted EBITDA.

       52.     On February 21, 2017, the Company filed its annual report on Form 10-K for the

period ended December 31, 2016, which affirmed the previously reported financial results.

Regarding third party reimbursements, the Company stated:

                                                   15

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 15 of 34 PageID #: 15
         Net operating revenues include amounts estimated by management to be
         reimbursable by Medicare and Medicaid under prospective payment systems and
         provisions of cost-reimbursement and other payment methods. In addition, we are
         reimbursed by non-governmental payors using a variety of payment methodologies.
         Amounts we receive for treatment of patients covered by these programs are
         generally less than the standard billing rates. Contractual allowances are
         automatically calculated and recorded through our internally developed “automated
         contractual allowance system.” Within the automated system, payors’ historical
         paid claims data are utilized to calculate the contractual allowances. This data is
         automatically updated on a monthly basis. All hospital contractual allowance
         calculations are subjected to monthly review by management to ensure
         reasonableness and accuracy. We account for the differences between the estimated
         program reimbursement rates and the standard billing rates as contractual
         allowance adjustments, which we deduct from gross revenues to arrive at operating
         revenues (net of contractual allowances and discounts). The process of estimating
         contractual allowances requires us to estimate the amount expected to be received
         based on payor contract provisions. The key assumption in this process is the
         estimated contractual reimbursement percentage, which is based on payor
         classification and historical paid claim data. Our automated contractual allowance
         system does not maintain the contractual allowance at the patient account level as
         it estimates an average contractual allowance by payor classification. Due to the
         complexities involved in these estimates, actual payments we receive could be
         different from the amounts we estimate and record.

         53.      The 2016 10-K was signed by Defendants Smith, Cash, Hammons, Clerico, Ely,

Fry, Jennings, North, Williams, and non-Defendant H. Mitchell Watson.

         54.      On April 6, 2017, the Company filed its 2017 Proxy Statement with the SEC.

Defendants Smith, Aaron, Clerico, Dinkins, Ely, Fry, Hingtgen, Jennings, Krishnan, North, and
non-defendant Williams solicited the 2017 Proxy Statement filed pursuant to Section 14(a) of the

Exchange Act, which contained material misstatements and omissions. 1

         55.      With respect to adherence to the Code of Conduct, the Proxy Statement stated the

following:

         The Company has a robust compliance program, the cornerstone of which is our
         Code of Conduct. Our Code of Conduct has been adopted and implemented
         throughout our organization and is applicable to all members of the Board of

1
         Plaintiff’s allegations with respect to the misleading statements in the 2017 Proxy Statement are based solely
on negligence; they are not based on any allegation of reckless or knowing conduct by or on behalf of the Individual
Defendants, and they do not allege, and do not sound in, fraud. Plaintiff specifically disclaims any allegations of,
reliance upon any allegation of, or reference to any allegation of fraud, scienter, or recklessness about these allegations
and related claims.

                                                            16

     Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 16 of 34 PageID #: 16
       Directors and our officers, as well as employees of our subsidiaries. A variation of
       this Code of Conduct has been in effect at our Company since 1997.

       56.     The 2017 Proxy Statement, however, was false and misleading and the Individual

Defendants were responsible. For example, it was false and misleading regarding executive

compensation in that the Individual Defendants purported to employ “pay-for performance”

elements, including equity awards designed to “effectively align the interests of management with

those of stockholders,” while failing to disclose that the Company’s share price was artificially

inflated as a result of false and misleading statements. The 2017 Proxy Statement also failed to

disclose, inter alia, that: (1) the Company under-recorded its bad accounts allowance; (2) the

Company under-recorded its contractual adjustments; (3) consequently, the Company had over-

recorded its net operating revenue; (4) similarly, the Company had under-recorded its net losses;

and (5) the Company failed to maintain internal controls. Due to the foregoing, Defendants’

statements regarding Company’s business, operations, and prospects were materially false,

misleading, and lacked a reasonable basis in fact at all relevant times.
       57.     On May 1, 2017, the Company announced its first quarter 2017 financial results

and reported $4.486 billion net operating revenue, $199 million net loss, and $527 million adjusted

EBITDA.

       58.     On May 2, 2017, the Company filed its quarterly report on Form 10-Q for the period

ended March 31, 2017, which affirmed the previously reported financial results. Therein, the
Company noted the adoption of a new accounting standard that would impact its provision for bad

debts. The Company stated, in relevant part:

       In May 2014, the Financial Accounting Standards Board (“FASB”) issued
       Accounting Standards Update (“ASU”) 2014-09, which outlines a single
       comprehensive model for recognizing revenue and supersedes most existing
       revenue recognition guidance, including guidance specific to the healthcare
       industry. . . . The Company expects to adopt this ASU on January 1, 2018 and is
       currently developing its plan for adoption and the impact on its revenue recognition
       policies, procedures and control framework and the resulting impact on its
       consolidated financial position, results of operations and cash flows. The Company
       has established an implementation group for this ASU with an implementation plan
       to transition to the new standard and determine its impact during 2017.

                                                 17

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 17 of 34 PageID #: 17
       Additionally, the adoption of the new accounting standard will impact the
       presentation on the Company’s statement of operations for a significant component
       of its provision for bad debts. After adoption of the new standard, the majority of
       what is currently classified as the provision for bad debts will be reflected as an
       implicit price concession as defined in the standard and therefore an adjustment to
       net patient revenue. The Company will continue to evaluate certain changes in
       collectability on its self-pay patient accounts receivable resulting from certain
       credit and collection issues not assessed at the date of service, including
       bankruptcy, and recognize such amounts in the provision for bad debts included in
       operating expenses on the statement of operations. The Company plans to elect to
       apply the full retrospective approach upon adoption. The Company cannot
       reasonably estimate at this time the quantitative impact that the adoption of this
       accounting standard will have on the financial statements of the Company.

       59.     The quarterly report was signed by Defendants Smith, Cash, and Hammons. The

quarterly report further stated that the Company would be adopting Accounting Standards Update

that would change its revenue recognition methods, altering its accounting for its provision for bad

accounts,

       In May 2014, the Financial Accounting Standards Board (“FASB”) issued
       Accounting Standards Update (“ASU”) 2014-09, which outlines a single
       comprehensive model for recognizing revenue and supersedes most existing
       revenue recognition guidance, including guidance specific to the healthcare
       industry. This ASU provides companies the option of applying a full or modified
       retrospective approach upon adoption. This ASU is effective for fiscal years
       beginning after December 15, 2017, with early adoption permitted for annual
       periods beginning after December 15, 2016. The Company expects to adopt this
       ASU on January 1, 2018 and is currently developing its plan for adoption and the
       impact on its revenue recognition policies, procedures and control framework and
       the resulting impact on its consolidated financial position, results of operations and
       cash flows. The Company has established an implementation group for this ASU
       with an implementation plan to transition to the new standard and determineits
       impact during 2017…
       Additionally, the adoption of the new accounting standard will impact the
       presentation on the Company’s statement of operations for a significant component
       of its provision for bad debts. After adoption of the new standard, the majority of
       what is currently classified as the provision for bad debts will be reflected as an
       implicit price concession as defined in the standard and therefore an adjustment to
       net patient revenue. The Company will continue to evaluate certain changes in
       collectability on its self-pay patient accounts receivable resulting from certain
       credit and collection issues not assessed at the date of service, including
       bankruptcy, and recognize such amounts in the provision for bad debts included in
       operating expenses on the statement of operations. The Company plans to elect to

                                                18

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 18 of 34 PageID #: 18
        apply the full retrospective approach upon adoption. The Company cannot
        reasonably estimate at this time the quantitative impact that the adoption of this
        accounting standard will have on the financial statements of the Company.

        60.     Attached to the report were SOX certifications signed by Defendants Smith and

Cash attesting to the accuracy of the 1Q17.

        61.     On August 1, 2017, the Company announced second quarter 2017 financial results

and reported $4.144 billion net operating revenue, $137 million net loss, and $435 million adjusted

EBITDA.

        62.     On August 2, 2017, the Company filed its quarterly report on Form 10-Q for the

period ended June 30, 2017, which affirmed the previously reported financial results. Defendants

Smith, Aaron and Hammons signed the report and Defendants Smith and Aaron signed SOX

certifications attesting to its accuracy.
        63.     On November 1, 2017, the Company announced third quarter 2017 financial results

and reported $3.666 billion net operating revenue, $110 million net loss, and $331 million adjusted

EBITDA. Also, on November 2, 2017, the Company filed its quarterly report on Form 10-Q for

the period ended September 30, 2017, which affirmed the previously reported financial results.

The report was signed by was signed by Defendants Smith, Aaron, and Hammons. Attached to

the report were SOX certifications signed by Defendants Smith and Aaron, attesting to the

accuracy of the report.

        64.     The above statements were materially false and/or misleading and failed to disclose

material adverse facts about the Company’s business, operations, and prospects. Specifically,

Defendants failed to disclose to investors: (1) that the Company had understated its contractual

allowances; (2) that the Company had understated its provision for bad debts; (3) that, as a result,

the Company had overstated its net operating revenue; (4) that, as a result, the Company had

understated its net loss; and (5) that, as a result of the foregoing, Defendants’ positive statements

about the Company’s business, operations, and prospects were materially misleading and/or lacked

a reasonable basis.


                                                 19

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 19 of 34 PageID #: 19
                                    THE TRUTH EMERGES

       65.     On February 27, 2018, the Company announced its fourth quarter and full year

2017 financial results, which included a $591 million increase in contractual allowances and bad

debt provision. Specifically, the Company stated:

       As required by generally accepted accounting principles, the Company adopted the
       new revenue recognition accounting standard on January 1, 2018. In connection
       with this adoption, during the fourth quarter of 2017, the Company completed an
       extensive analysis of its patient revenues and patient accounts receivable and
       developed new accounting processes and methodologies. This analysis also
       included an evaluation of patient accounts receivable retained after the 2017
       divestitures of 30 hospitals, and certain other revenues. Based on the information
       obtained related to the aforementioned adoption, the financial results discussed
       below include a change in estimate recorded by the Company during the three
       months and year ended December 31, 2017 to increase contractual allowances and
       the provision for bad debts by approximately $591 million.


       66.     On this news, the Company’s share price fell $1.06 per share, more than 17%, to

close at $5.12 per share on February 28, 2018, on unusually heavy trading volume.

                                      DAMAGES TO CYH

       67.     As a direct and proximate result of the Individual Defendants’ conduct, CYH has

lost and will continue to lose and expend many millions of dollars. Such expenditures include, but

are not limited to, legal fees and payments associated with the Securities Class Action filed against

the Company, and certain executives, and any internal investigations, and amounts paid to outside

lawyers, accountants, and investigators in connection thereto, including possible restatements.

       68.     Additionally, these expenditures include, but are not limited to, compensation and

benefits paid to the Individual Defendants who breached their fiduciary duties to the Company,

including bonuses tied to the Company’s attainment of certain objectives, and benefits paid to the

Individual Defendants who breached their fiduciary duties to the Company.




                                                 20

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 20 of 34 PageID #: 20
                                 DERIVATIVE ALLEGATIONS

        69.     Plaintiff brings this action derivatively and for the benefit of CYH to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and officers of CYH, unjust enrichment, waste of corporate assets,

and violations of Section 14(a) of the Exchange Act, as well as the aiding and abetting thereof.

CYH is named solely as a nominal party in this action. This is not a collusive action to confer

jurisdiction on this Court that it would not otherwise have.

        70.     Plaintiff is, and has been at all relevant times, a shareholder of CYH. Plaintiff

will adequately and fairly represent the interests of CYH in enforcing and prosecuting its rights,

and, to that end, has retained competent counsel, experienced in derivative litigation, to enforce

and prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        71.     Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        72.     A pre-suit demand on the Board of CYH is futile and, therefore, excused. At the time

of filing of this action, the Board consists of the following eleven Individual Defendants, Wayne

T. Smith, John A. Clerico, Michael Dinkins, James S. Ely III, John A. Fry, Tim L. Hingtgen,

William Norris Jennings, K. Ranga Krishnan, Julia B. North, and H. James Williams, and non-
defendant Elizabeth T. Hirsch (collectively, the “Directors”). Plaintiff needs only to allege demand

futility as to six of the eleven Directors that were on the Board at the time this action was

commenced.

        73.     Demand is excused as to all of the Directors except Hirsch because each one of

them face, individually and collectively, a substantial likelihood of liability as a result of the

scheme they engaged in knowingly or recklessly to make and/or cause the Company to make false

and misleading statements and omissions of material facts, which renders them unable to




                                                 21

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 21 of 34 PageID #: 21
impartially investigate the charges and decide whether to pursue action against themselves and the

other perpetrators of the scheme.

       74.     In complete abdication of their fiduciary duties, the Directors either knowingly or

recklessly participated in making and/or causing the Company to make the materially false and

misleading statements alleged herein. The fraudulent scheme was intended to make the Company

appear more profitable and attractive to investors. As a result of the foregoing, the Directors

breached their fiduciary duties, face a substantial likelihood of liability, are not disinterested, and

demand upon them is futile, and thus excused.
       75.     There are additional reasons that demand is futile. With respect to Defendant

Smith, he has served as the Company’s CEO since 1997, and as its Chairman since 2001. He also

served as the Company’s President from 1997 to 2014. Thus, as the Company admits, he is a non-

independent director. Also, he received nearly $5 million in compensation during fiscal year ended

12/31/17. Defendant Smith was ultimately responsible for all the false and misleading statements

and omissions that were made, including those in the 2016 10-K, which he signed, together with

a SOX certification. As the Company’s highest officer and as a trusted Company director, he

conducted little, if any, oversight of the Company’s engagement in the scheme to make false and

misleading statements, consciously disregarded his duties to monitor such controls over reporting

and engagement in the scheme, and consciously disregarded his duties to protect corporate assets.

Moreover, Defendant Smith is a defendant in the Securities Class Action. For these reasons, too,

Defendant Smith breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       76.     Demand on Defendant Clerico is also futile for additional reasons. He has served

as a Company director since 2003 and serves as a member of the Audit & Compliance Committee

and as a member of the Compensation Committee. He also served as the Chairman of the Audit &

Compliance Committee during the Relevant Period. Furthermore, Defendant Clerico signed, and

thus personally made the false and misleading statements in, the 2016 10-K. For these reasons,


                                                  22

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 22 of 34 PageID #: 22
too, Defendant Clerico breached his fiduciary duties, faces a substantial likelihood of liability, is

not independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       77.     Demand on Defendant Dinkins is futile. Defendant Dinkins has served as a

Company director since 2017 and serves on the Audit & Compliance Committee. As a Company

director and member of the Audit & Compliance Committee he conducted little, if any, oversight

of the Company's engagement in the scheme to make false and misleading statements, consciously

disregarded his duties to monitor such controls over reporting and engagement in the scheme, and

consciously disregarded his duties to protect corporate assets. For these reasons, Defendant

Dinkins breached his fiduciary duties, faces a substantial likelihood of liability, is not independent

or disinterested, and thus demand upon him is futile and, therefore, excused.
       78.     Demand on Defendant Ely is futile. Defendant Ely has served as a Company

director since 2009 and serves as the Chairman of the Audit & Compliance Committee. As a

director and Chairman of the Audit & Compliance Committee he conducted little, if any, oversight

of the Company's engagement in the scheme to make false and misleading statements, consciously

disregarded his duties to monitor such controls over reporting and engagement in the scheme, and

consciously disregarded his duties to protect corporate assets. Furthermore, Defendant Ely signed,

and thus personally made the false and misleading statements, in the 2016 10-K. For these reasons,

too, Defendant Ely breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       79.     Demand on Defendant Fry is futile. Defendant Fry has served as a Company

director since 2004 and serves as a member of the Compensation Committee and the Governance

& Nominating Committee. He also served as a member of the Audit & Compliance Committee

during the Relevant Period. As a director and member of the Audit & Compliance Committee, he

conducted little, if any, oversight of the Company's engagement in the scheme to make false and

misleading statements, consciously disregarding his duties to monitor such controls over reporting

and engagement in the scheme, and consciously disregarded his duties to protect corporate assets.

Defendant Fry signed, and thus personally made the false and misleading statements, in the 2016
                                                 23

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 23 of 34 PageID #: 23
10-K. For these reasons, too, Defendant Fry breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,

therefore, excused.

       80.     Demand on Defendant Hingtgen is futile. Defendant Hingtgen has served as the

Company's President and COO since September 2016, and as a Company director since 2017.

Thus, as the Company admits, he is a non-independent director. Community Health provides

Defendant Hingtgen with his principal occupation; he receives handsome compensation, including

$2,209,826 during the fiscal year ended December 31, 2017. As an officer and a trusted Company

director he conducted little, if any, oversight of the Company's engagement in the scheme to make

false and misleading statements, consciously disregarded his duties to monitor controls over

reporting and engagement in the scheme, and consciously disregarded his duties to protect

corporate assets. For these reasons, too, Defendant Hingtgen breached his fiduciary duties, faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.
       81.     Demand on Defendant Jennings is futile. Defendant Jennings has served as a

Company director since 2008 and serves as a member of the Governance & Nominating

Committee. Defendant Jennings signed, and thus personally made the false and misleading

statements in, the 2016 10-K. For these reasons, too, Defendant Jennings breached his fiduciary

duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon him is futile and, therefore, excused.

       82.     Demand on Defendant Krishnan is futile. Defendant Krishnan has served as a

Company director since 2017 and serves as a member of the Governance & Nominating

Committee. Defendant Krishnan receives substantial compensation, including $290,000 during the

fiscal year ended December 31, 2018. As a trusted Company director, he conducted little, if any,

oversight of the Company's engagement in the scheme to make false and misleading statements,

consciously disregarded his duties to monitor such controls over reporting and engagement in the

scheme, and consciously disregarded his duties to protect corporate assets. For these reasons, too,
                                                 24

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 24 of 34 PageID #: 24
Defendant Krishnan breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       83.     Demand on Defendant North is futile. Defendant North has served as a Company

director since 2004 and currently serves as Lead Director. She also serves as Chairman of the

Governance & Nominating Committee and as a member of the Compensation committee.

Defendant North signed, and thus personally made the false and misleading statements in, the 2016

10-K. For these reasons, too, Defendant North breached her fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon her is futile and,

therefore, excused.
       84.     Demand on Defendant Williams is futile. He has served as a Company director

since 2015. He also serves as a member of the Audit & Compliance Committee. Defendant

Williams signed, and thus personally made the false and misleading statements in, the 2016 10-K.

For these reasons, too, Defendant Williams breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,

therefore, excused.

       85.     There are additional reasons why certain Directors would be unwilling to

commence legal action against another Director given their longstanding personal and professional

relationships. Specifically, Directors Smith and Clerico previously served as members of the board

of Praxair Inc., where Director Hirsch served as Vice President, Controller and Director of Investor

Relations from 2010 to 2016.

       86.     CYH has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Directors have not filed any lawsuits against themselves

or others who were responsible for that wrongful conduct to attempt to recover for CYH any part

of the damages CYH suffered and will continue to suffer thereby. Thus, any demand upon the

Directors would be futile.

       87.     The conduct described herein and summarized above could not have been the

product of legitimate business judgment as it was based on bad faith and intentional, reckless, or
                                                 25

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 25 of 34 PageID #: 25
disloyal misconduct. Thus, none of the Directors can claim exculpation from their violations of

duty pursuant to the Company’s charter (to the extent such a provision exists). As a majority of

the Directors face a substantial likelihood of liability, they are self- interested in the transactions

challenged herein and cannot be presumed to be capable of exercising independent and disinterested

judgment about whether to pursue this action on behalf of the shareholders of the Company.

Accordingly, demand is excused as being futile. The acts complained of herein constitute

violations of fiduciary duties owed by CYH’s officers and directors, and these acts are incapable

of ratification. The Directors may also be protected against personal liability for their acts of

mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability

insurance if they caused the Company to purchase it for their protection with corporate funds, i.e.,

monies belonging to the stockholders of CYH. If there is a directors’ and officers’ liability

insurance policy covering the Directors, it may contain provisions that eliminate coverage for any

action brought directly by the Company against the Directors, known as, inter alia, the “insured-

versus-insured exclusion.” As a result, if the Directors were to sue themselves or certain of the

officers of CYH, there would be no directors’ and officers’ insurance protection. Accordingly, the

Directors cannot be expected to bring such a suit. On the other hand, if the suit is brought

derivatively, as this action is brought, such insurance coverage, if such an insurance policy exists,

will provide a basis for the Company to effectuate a recovery. Thus, demand on the Directors is

futile and, therefore, excused. If there is no directors’ and officers’ liability insurance, then the

Directors will not cause CYH to sue the Individual Defendants named herein, since, if they did,

they would face a large uninsured individual liability. Accordingly, demand is futile in that event,

as well. Thus, for all the reasons set forth above, all of the Directors, and, if not all of them, at least

a majority of the Directors, cannot consider a demand with disinterestedness and independence.

Consequently, a demand upon the Board is excused as futile.




                                                    26

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 26 of 34 PageID #: 26
                                           FIRST CLAIM

     Against Individual Defendants for Violations of Section 14(a) of the Exchange Act
          88.   Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

          89.   The Section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The Section 14(a) claims alleged herein do not allege and do not

sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of,

or reference to any allegation of fraud, scienter, or recklessness with regard to these nonfraud

claims.

          90.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

          91.   Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

          92.   Under the direction and watch of the Directors, the Proxy Statement failed to

disclose material informational and omitted material information was there was a duty to do so.

For example, it was false and misleading regarding executive compensation in that the Individual

Defendants purported to employ “pay-for performance” elements, including equity awards

designed to “effectively align the interests of management with those of stockholders,” while
                                                  27

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 27 of 34 PageID #: 27
failing to disclose that the Company’s share price was artificially inflated as a result of false and

misleading statements. The Proxy Statement also failed to disclose, inter alia, that: (1) the

Company under-recorded its bad accounts allowance; (2) the Company under-recorded its

contractual adjustments; (3) consequently, the Company had over-recorded its net operating

revenue; (4) similarly, the Company had under-recorded its net losses; and (5) the Company failed

to maintain internal controls. Due to the foregoing, Defendants’ statements regarding Company’s

business, operations, and prospects were materially false, misleading, and lacked a reasonable

basis in fact at all relevant times.
        93.     The false and misleading elements of the 2017 Proxy Statement led to the re-

election of the Directors, which allowed the Individual Defendants to continue breaching their

fiduciary duties to CYH. Plaintiff, on behalf of CYH, has no adequate remedy at law.


                                           SECOND CLAIM

               Against the Individual Defendants for Breach of Fiduciary Duties
        94.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

        95.     Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of CYH’s business and affairs.

        96.     Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

        97.     The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of CYH.




                                                 28

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 28 of 34 PageID #: 28
       98.     In breach of Delaware law and their fiduciary duties owed to CYH, the Individual

Defendants have caused the Company to fail to hold an annual meeting of the stockholders for

over 13 months.

       99.     In breach of their fiduciary duties owed to CYH, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and misleading statements

and omissions of material fact that failed to disclose that: (1) the Company under-recorded its bad

accounts allowance; (2) the Company under-recorded its contractual adjustments; (3)

consequently, the Company had over-recorded its net operating revenue; (4) similarly, the

Company had under-recorded its net losses; and (5) the Company failed to maintain internal

controls The Individual Defendants also failed to correct and/or caused the Company to fail to

correct the false and misleading statements and omissions of material fact, rendering them

personally liable to the Company for breaching their fiduciary duties.
       100.    The Individual Defendants had actual or constructive knowledge that the Company

issued materially false and misleading statements, and they failed to correct the Company’s public

statements and representations. The Individual Defendants had actual knowledge of the

misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

for the truth, in that they failed to ascertain and to disclose such facts, even though such facts were

available to them. Such material misrepresentations and omissions were committed knowingly or

recklessly and for the purpose and effect of artificially inflating the price of CYH’s securities.

       101.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail to

maintain internal controls. The Individual Defendants had actual knowledge that the Company was

engaging in the fraudulent schemes set forth herein, and that internal controls were not adequately

maintained, or acted with reckless disregard for the truth, in that they caused the Company to

improperly engage in the fraudulent schemes and to fail to maintain adequate internal controls,

even though such facts were available to them. Such improper conduct was committed knowingly
or recklessly and for the purpose and effect of artificially inflating the price of CYH’s securities.

                                                  29

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 29 of 34 PageID #: 29
The Individual Defendants, in good faith, should have taken appropriate action to correct the

schemes alleged herein and to prevent them from continuing to occur.

       102.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       103.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, CYH has sustained and continues to sustain significant damages. As a result

of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       104.    Plaintiff on behalf of CYH has no adequate remedy at law.


                                           THIRD CLAIM

                    Against Individual Defendants for Unjust Enrichment

       105.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       106.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, CYH.

       107.    The Individual Defendants either benefitted financially from the improper conduct

or received unjustly lucrative bonuses, stock options, or similar compensation from CYH that was

tied to the performance or artificially inflated valuation of CYH, or received compensation that

was unjust in light of the Individual Defendants’ bad faith conduct.

       108.    Plaintiff, as a shareholder and a representative of CYH, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, including from the

redemption of preferred stock, benefits, and other compensation, including any performance-

based or valuation-based compensation, obtained by the Individual Defendants and due to their

wrongful conduct and breach of their fiduciary and contractual duties.

       109.    Plaintiff on behalf of CYH has no adequate remedy at law.
                                                30

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 30 of 34 PageID #: 30
                                           FOURTH CLAIM

                   Against Individual Defendants for Waste of Corporate Assets

          110.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

          111.    The Individual Defendants caused the Company to pay themselves excessive

salaries, bonuses, fees, and stock grants to the detriment of the shareholders and the Company.

          112.    As a result of the failures of internal control and resulting financial misstatements,

the Individual Defendants have caused the Company to incur costs associated with the

investigation into such misstatements and the restatement of two quarterly reports and one annual

report.
          113.    As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused CYH to waste

valuable corporate assets, to incur many millions of dollars of legal liability and costs to defend

unlawful actions, to engage in internal investigations, and to lose financing from investors and

business from future customers who no longer trust the Company and its services.

          114.    As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

          115.    Plaintiff on behalf of CYH has no adequate remedy at law.

                                       PRAYER FOR RELIEF

          FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

             A.   Declaring that Plaintiff may maintain this action on behalf of CYH, and that

Plaintiff is an adequate representative of the Company;



                                                   31

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 31 of 34 PageID #: 31
          B.    Declaring that the Individual Defendants have breached or aided and abetted the

breach of their fiduciary duties to CYH;

          C.    Determining and awarding to CYH the damages sustained by it as a result of the

violations set forth above from each of the Individual Defendants, jointly and severally, together

with pre-judgment and post-judgment interest thereon;

          D.    Directing CYH and the Individual Defendants to hold an annual meeting of the

stockholders;

          E.    Directing CYH and the Individual Defendants to take all necessary actions to

reform and improve its corporate governance and internal procedures to comply with applicable

laws and to protect CYH and its shareholders from a repeat of the damaging events described

herein, including, but not limited to, putting forward for shareholder vote the following resolutions

for amendments to the Company’s Bylaws or Certificate of Incorporation and the following actions

as may be necessary to ensure proper corporate governance policies:
                      a) a proposal to strengthen the Board’s supervision of operations and

                         develop and implement procedures for greater shareholder input into the

                         policies and guidelines of the board; and

                      b) a proposal to ensure the establishment of effective oversight of

                         compliance with applicable laws, rules, and regulations.

                      c) Awarding CYH restitution from Individual Defendants, and each of them;

                      d) Awarding Plaintiff the costs and disbursements of this action, including

                         reasonable attorneys’ and experts’ fees, costs, and expenses; and

                      e) Granting such other and further relief as the Court may deem just and

                         proper.

                                   JURY TRIAL DEMANDED


                    Plaintiff hereby demands a trial by jury.



                                                 32

    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 32 of 34 PageID #: 32
Dated: August 20, 2019                Respectfully submitted,

                                      s/Jerry E. Martin____
                                      JERRY E. MARTIN (NO. 20193)
                                      DAVID W. GARRISON (No. 24968)
                                      BARRETT JOHNSTON
                                      MARTIN & GARRISON LLC
                                      414 Union Street, Suite 900
                                      Nashville, TN 37219
                                      Telephone: (615) 244-2202
                                      Facsimile: (615) 252-3798
                                      jmartin@barrettjohnston.com
                                      dgarrison@barrettjohnston.com


                                       LEVI & KORSINSKY, LLP
                                       Gregory Mark Nespole (GN 6820)
                                       Samir Shukurov (SS 9491)
                                       LEVI & KORSINSKY, LLP
                                       55 Broadway, 10th Floor
                                       New York, New York 10006
                                       Tel: (212) 363-7500
                                       Fax: (212) 363-7171
                                       gnespole@zlk.com
                                       shukurov@zlk.com

                                       Attorneys for Plaintiff




                                 33
   Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 33 of 34 PageID #: 33
                                        VERIFICATION

          I, Roger Trombley, under penalties of perjury, hereby do declare that I am a plaintiff in
the foregoing complaint, that I have read the complaint, and that the facts therein are true to my
own knowledge, except to matters stated therein to be alleged upon information and belief, and
as to those matters, I believe them to be true and correct to the best of my knowledge,
information, and belief.



Signed:


 Print Name: ROGER C TROMBLEY                     Date: 08/19/2019




    Case 3:19-cv-00733 Document 1 Filed 08/20/19 Page 34 of 34 PageID #: 34
